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                                                                                                  UNITED STATES DISTRICT COURT
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R OBINS , K APLAN , M ILLER & C IRESI L.L.P.




                                                                                              NORTHERN DISTRICT OF CALIFORNIA
                                                                9
                                                                    IN RE: CATHODE RAY TUBE (CRT)                               Master File No. M:07-5994-SC
                                                               10   ANTITRUST LITIGATION                                        MDL No. 1917
                                                               11   This Document Relates to                                    Case No. 3:11-cv-05513-SC
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                                                               12   Electrograph Systems, Inc. et al. v. Hitachi, Ltd.,
                                               L OS A NGELES




                                                                    et al., No. 11-cv-01656;
                                                               13                                                             STIPULATION AND [PROPOSED]
                                                                    Siegel v. Hitachi, Ltd., et al., No. 11-cv-05502;         ORDER EXTENDING THE
                                                               14                                                             DEADLINE TO FILE MOTION TO
                                                                    Best Buy Co., Inc., et al. v. Hitachi, Ltd., et al.,      COMPEL THOMSON TO RESPOND
                                                               15   No. 11-cv-05513;                                          TO DIRECT ACTION PLAINTIFFS’
                                                                                                                              FIRST SET OF REQUESTS FOR
                                                               16   Target Corp., et al. v. Chunghwa Picture Tubes,           ADMISSION
                                                                    Ltd., et al., No. 11-cv-05514;
                                                               17
                                                                    Interbond Corporation of America v. Hitachi, et
                                                               18   al., No. 11-cv-06275;
                                                               19   Office Depot, Inc. v. Hitachi, Ltd., et al., No.
                                                                    11-cv-06276;
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                                                                    CompuCom Systems, Inc. v. Hitachi, Ltd. et al.,
                                                               21   No. 11-cv-06396;
                                                               22   Costco Wholesale Corporation v. Hitachi, Ltd., et
                                                                    al., No. 11-cv-06397;
                                                               23
                                                                    P.C. Richard & Son Long Island Corporation, et
                                                               24   al. v. Hitachi, Ltd., et al., No. 12-cv-02648;
                                                               25   Schultze Agency Services, LLC v. Hitachi, Ltd.,
                                                                    et al., No. 12-cv-02649;
                                                               26
                                                                    Tech Data Corporation, et al. v. Hitachi, Ltd., et
                                                               27   al., No. 13-cv-00157;
                                                               28   Sharp Electronics Corp., et al. v. Hitachi, Ltd., et
                                                                                                                       STIPULATION AND [PROPOSED] ORDER EXTENDING THE
                                                                                                                       DEADLINE TO FILE MOTION TO COMPEL THOMSON TO
                                                                                                                       RESPOND TO DIRECT ACTION PLAINTIFFS’ FIRST SET OF
                                                                                                                       REQUESTS FOR ADMISSION
                                                                      Case 3:07-cv-05944-JST Document 2911 Filed 10/10/14 Page 2 of 5


                                                                    al., No. 13-cv-01173;
                                                                1
                                                                    Sharp Electronics Corp. et al. v. Koninklijke
                                                                2   Philips Electronics, N.V., et al., No. 13-cv-
                                                                    02776;
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                                                                    Siegel v. Technicolor SA, et al., No. 13-cv-05261;
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                                                                    Sears, Roebuck and Co., et al. v. Technicolor SA,
                                                                5   No. 13-cv-05262;

                                                                6   Best Buy Co., Inc., et al. v. Technicolor SA, et al.,
                                                                    No. 13-cv-05264;
                                                                7
                                                                    Schultze Agency Services, LLC v. Technicolor
                                                                8   SA, et al., No. 13-cv-05668;
R OBINS , K APLAN , M ILLER & C IRESI L.L.P.




                                                                9   Target Corp., v. Technicolor SA, et al., No. 13-
                                                                    cv-05686;
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                                                                    Costco Wholesale Corporation v. Technicolor
                                                               11   SA,, et al., No. 13-cv-005723;
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                                                               12   Electrograph Systems, Inc., et al. v. Technicolor
                                               L OS A NGELES




                                                                    SA, et al., No. 13-cv-05724;
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                                                                    P.C. Richard & Son Long Island Corporation, et
                                                               14   al. v. Technicolor SA, et al., No. 13-cv-05725;

                                                               15   Office Depot, Inc. v. Technicolor SA, et al., No.
                                                                    13-cv-05726;
                                                               16
                                                                    Interbond Corporation of America v. Technicolor
                                                               17   SA, et al., No. 13-cv-05727.

                                                               18   ViewSonic Corporation, v. Chunghwa Picture
                                                                    Tubes, Ltd., et al., 3:14cv-02510.
                                                               19

                                                               20           This Stipulation and Proposed Order Extending the Deadline to File Motion to Compel

                                                               21   Thomson to Respond to Direct Action Plaintiffs’ First Set of Requests for Admission between

                                                               22   certain Direct Action Plaintiffs (“DAPs”), on the one hand, and defendants Thomson S.A.

                                                               23   (n/k/a Technicolor SA); Thomson Consumer Electronics, Inc. (n/k/a Technicolor USA,

                                                               24   Inc.) (collectively, “Thomson”), on the other hand, is made with respect to the following facts

                                                               25   and recitals:

                                                               26           WHEREAS, on March 21, 2014, the Court entered a scheduling order setting the close of

                                                               27   fact discovery for September 5, 2014. See Dkt. No. 2459;

                                                               28           WHEREAS, the deadline to file any motion to compel after the discover cut-off is
                                                                                                                            STIPULATION AND [PROPOSED] ORDER EXTENDING THE
                                                                                                                -2-         DEADLINE TO FILE MOTION TO COMPEL THOMSON TO
                                                                                                                            RESPOND TO DIRECT ACTION PLAINTIFFS’ FIRST SET OF
                                                                                                                            REQUESTS FOR ADMISSION
                                                                     Case 3:07-cv-05944-JST Document 2911 Filed 10/10/14 Page 3 of 5



                                                                1   September 12, 2014 (L.R. 37-3);

                                                                2          WHEREAS, on August 1, 2014, the DAPs served their First Set of Requests for

                                                                3   Admission on Thomson;

                                                                4          WHEREAS, on September 5, 2014, Thomson served its Responses to DAP’s First Set of

                                                                5   Requests for Admission and stated objections on various grounds;

                                                                6          WHEREAS, on September 10, 11, 12, and 19, 2014, counsel for the undersigned parties

                                                                7   held telephonic meet and confers to discuss deficiencies in Thomson’s responses identified by

                                                                8   DAPs and have a bona fide intent to continue doing so;
R OBINS , K APLAN , M ILLER & C IRESI L.L.P.




                                                                9          WHEREAS, on September 12, 2014, the undersigned parties filed a stipulation extending

                                                               10   DAPs’ deadline to file a motion to compel relating to DAPs’ First Set of Requests of Admission

                                                               11   until September 22, 2014, see Dkt. No. 2840;
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                                                               12          WHEREAS, the undersigned parties desire to continue to meet and confer regarding
                                               L OS A NGELES




                                                               13   Thomson’s responses to DAPs’ First Set of Requests for Admission;

                                                               14          WHEREAS, the DAPs and Thomson have conferred by and through their counsel and,

                                                               15   subject to the Court’s approval, HEREBY STIPULATE AS FOLLOWS:

                                                               16          1.            Subject to the parties’ meet and confer discussion, the Plaintiffs provided

                                                               17                        Thomson with a revised list of documents.

                                                               18          2.            Subject to the parties’ meet and confer discussion, Thomson will review

                                                               19                        the revised list for inclusion on, and will consider executing, a declaration

                                                               20                        or stipulation related to their authenticity and business record status by

                                                               21                        September 26, 2014.

                                                               22          3.            The undersigned parties agree to extend the deadline for the Plaintiffs to

                                                               23                        file a motion to compel relating to the Plaintiffs First Set of Requests for

                                                               24                        Admission, to the extent one is deemed necessary by Plaintiffs, to October

                                                               25                        3, 2014.

                                                               26

                                                               27   PURSUANT TO STIPULATION, IT IS SO ORDERED.

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                                                                                                                       STIPULATION AND [PROPOSED] ORDER EXTENDING THE
                                                                                                            -3-        DEADLINE TO FILE MOTION TO COMPEL THOMSON TO
                                                                                                                       RESPOND TO DIRECT ACTION PLAINTIFFS’ FIRST SET OF
                                                                                                                       REQUESTS FOR ADMISSION
                                                                     Case 3:07-cv-05944-JST Document 2911 Filed 10/10/14 Page 4 of 5


                                                                            10/10/2014
                                                                    Dated: _________________              _____________________________________
                                                                1                                         Hon. Samuel Conti
                                                                                                          United States District Court Judge
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                                                                                                  ROBINS, KAPLAN, MILLER & CIRESI L.L.P.
                                                                4   DATED: September 22, 2014
                                                                5                                 By: /s/ Laura E. Nelson_______________
                                                                                                        Roman M. Silberfeld
                                                                6                                       David Martinez
                                                                                                        Laura E. Nelson
                                                                7
                                                                                                  Attorneys for Plaintiffs Best Buy Co., Inc.; Best Buy
                                                                8
R OBINS , K APLAN , M ILLER & C IRESI L.L.P.




                                                                                                  Purchasing LLC; Best Buy Enterprise Services, Inc.;
                                                                                                  Best Buy Stores, L.P.; BESTBUY.COM, LLC; Magnolia
                                                                9                                 Hi-Fi, LLC
                                                               10
                                                                                                    /s/ Philip J. Iovieno
                                                               11                                   Philip J. Iovieno
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                                                                                                    Corporation, MARTA Cooperative of America, Inc., ABC
                                                               27                                   Appliance, Inc., Schultze Agency Services LLC on behalf
                                                                                                    of Tweeter Opco, LLC and Tweeter Newco, LLC
                                                               28
                                                                                                              STIPULATION AND [PROPOSED] ORDER EXTENDING THE
                                                                                                    -4-       DEADLINE TO FILE MOTION TO COMPEL THOMSON TO
                                                                                                              RESPOND TO DIRECT ACTION PLAINTIFFS’ FIRST SET OF
                                                                                                              REQUESTS FOR ADMISSION
                                                                    Case 3:07-cv-05944-JST Document 2911 Filed 10/10/14 Page 5 of 5


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                                                               22                                  Consumer Electronics, Inc.

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                                                                                                              STIPULATION AND [PROPOSED] ORDER EXTENDING THE
                                                                                                   -5-        DEADLINE TO FILE MOTION TO COMPEL THOMSON TO
                                                                                                              RESPOND TO DIRECT ACTION PLAINTIFFS’ FIRST SET OF
                                                                                                              REQUESTS FOR ADMISSION
